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Dear Mr. Graber:

My suggestion for a new district encompasses the following towns followed by
- their population:

Orchard Park 29,054

Aurora 13,782
Elma 11,317
Concord 8,494
Marilla 5,327
Holland 3,401
Colden 3,265
Wales 3,005
Sardinia 2,775

Total District Population: 80,420
My reasoning is as follows:

Keep Orchard Park and Aurora in the same district as they are similar
communities and are presenily in District #13. Elma, Marilla and Wales share a
common identity such as EMW Athletic programs, so it would be beneficial

to keep them in the same district. Concord, Holland, Colden and Sardinia are
"rural" towns and it is reasonable to link them together. Finally, Legislator Fidoli
is seeking another office so it makes sense to dissolve District # 5 in my
opinion.

Best Regards,

Dr. Patrick J. Keem- Resident of Orchard Park
